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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


ARON DANTZIG,                                                    Case No. 16 Civ. 07097 (LLS)

                                     Plaintiff,                      FIRST AMENDED
                                                                   VERIFIED COMPLAINT
               -against-
                                                                  JURY TRIAL DEMANDED
ORIX AM HOLDINGS, LLC, ORIX ASSET
MANAGEMENT, LLC, ORIX AM INVESTMENTS,
LLC, ORIX GLOBAL ASSET MANAGEMENT, LLC
(f/k/a ORIX USA ASSET MANAGEMENT, LLC), ORIX
CORPORATION, and ORIX USA CORPORATION,

                                     Defendants, and

NEW HEALTH CAPITAL PARTNERS GP LLC; NEW
HEALTH CAPITAL PARTNERS MANAGEMENT LP;
NEW HEALTH CAPITAL PARTNERS MANAGEMENT
GP LLC, and NEW HEALTH CAPITAL PARTNERS FUND
I, LLC,

                                     Nominal Defendants.



       Plaintiff Aron Dantzig, by and through his undersigned counsel, alleges as follows:

                                 NATURE OF THE ACTION

       1.      Plaintiff seeks recovery from Defendants for: (i) breaches of the various written

contracts entered into by and between the parties; (ii) inducing the breaches of those contracts,

(iii) breach of the covenant of good faith and fair dealing, (iv) tortious interference with

contracts, (v) tortious interference with prospective economic advantage, (vi) breach of fiduciary

duty and (vii) imposing a constructive trust upon ORIX AM Investments, LLC, based on

Defendants’ conduct in taking control of and dissolving a private-equity fund (Nominal

Defendant New Health Capital Partners Fund I, LLC).
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       2.      In September 2011, Plaintiff Aron Dantzig (“Dantzig”) and a third party, Richard

Baxter (“Baxter”), on the one hand, and the Defendants, on the other, entered into an agreement

where Dantzig and Baxter would operate healthcare-focused private-equity funds through an

entity named New Health Capital Partners (“NHCP”) and Defendants would be investors.

Defendants committed $150 million of investment capital to NHCP. This amount was committed

in two parts: (1) a $100 million capital commitment to New Health Capital Partners Fund I

(“Fund I”), a healthcare private-equity fund, and (2) a $50 million capital commitment to a

second healthcare private-equity fund (referred to as “Fund II”). In exchange, Dantzig and

Baxter agreed to manage the investments of both funds, as co-portfolio managers, for at least two

years after the launch of Fund II.

       3.      Based in substantial part on Dantzig’s efforts, the NHCP partnership and Fund I

were extremely successful. Within approximately seven months of launching Fund I, NHCP had

made successful investments for the entire $100 million commitment. Fund I was projected to

generate at least a 14% gross unlevered return by 2019, and approximately $40-$50 million of

gross profit for ORIX. In addition, NCHP’s efforts to raise Fund II had been successfully

launched, with a first closing on Fund II expected in the summer of 2013.

       4.      In May 2013, Defendants brought all of this to a halt in violation of the

agreements between the parties. The precipitating event was Baxter’s stated intention to resign as

a partner and co-portfolio manager from NHCP.

       5.      Thereafter, in June 2013, Defendants met with Baxter in secret to enlist Baxter’s

help in a plan to reap the benefits of Fund I but deprive Dantzig of his contractual share of the

management fees, carried interest incentive income related to Fund I, and other bargained-for

rights under the agreements.




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       6.      Defendants offered to pay Baxter more than he was entitled to under the contracts

(see Exhibit C hereto) as well as release Baxter from a litany of onerous post-deal restraints and

non-competition agreements that would otherwise have severely limited his ability to work—an

offer Defendants could not make unilaterally under the agreements as Dantzig had an

independent ability to enforce Baxter’s non-compete agreement—if Baxter helped Defendants

cut Dantzig out of his contractually-earned compensation.

       7.      Defendants sought to avoid, and have avoided, paying millions of dollars in fees

and carried interest incentive income to Dantzig and sought to avoid making good on their

contractual obligations, capital commitment and ongoing management fees owed to NHCP for

Fund I and Fund II.


                                JURISDICTION AND VENUE

       8.      Plaintiff initially filed a summons with notice in the New York Supreme Court on

June 24, 2016. Jurisdiction in that court was based on the agreements between the parties and the

conduct committed within New York and which caused injury to Dantzig in New York.

N.Y. C.P.L.R. §§ 301 and 302.

       9.      On September 12, 2016, Defendants removed this matter to this Court. Thus, the

burden is on Defendants to establish jurisdiction and venue in this Court.

                                           PARTIES

       10.     Plaintiff Aron Dantzig is an individual residing at 7117 N. 68th Place, Paradise

Valley, Arizona.

       11.     Defendant ORIX AM Holdings, LLC is a Delaware limited liability company

with its principal place of business located at 1717 Main Street, Suite 900, Dallas, Texas 75201.




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       12.     Defendant ORIX AM Investments, LLC is a Delaware limited liability company

with its principal place of business located at 1717 Main Street, Suite 900, Dallas, Texas 75201.

       13.     Defendant ORIX Global Asset Management, LLC (“ORIX GAM, LLC”) is a

Delaware limited liability company with its principal place of business located at 1717 Main

Street, Suite 900, Dallas, Texas 75201. ORIX GAM, LLC was formerly known as ORIX USA

Asset Management, LLC.

       14.     Defendant ORIX USA Corporation is a Delaware corporation with its principal

place of business located at 1717 Main Street, Suite 900, Dallas, Texas 75201.

       15.     Defendant ORIX Asset Management, LLC is purported to be a Delaware limited

liability company with its principal place of business located at 1717 Main Street, Suite 900,

Dallas, Texas 75201. Several of the agreements between the parties are signed by “ORIX Asset

Management LLC, a Delaware limited liability company” in addition to the other ORIX entities.

Also, Defendants sent correspondence in this matter as “ORIX Asset Management, LLC.” The

Secretary of State of Delaware has no records of this “company” and Defendants claim it does

not exist. (Dkt. No. 1 at ¶ 6). ORIX Asset Management, LLC is named as Defendant in this

action should it be found to have a separate identity from the other ORIX entities.

       16.     Defendant ORIX Corporation is a Japanese corporation with its principal place of

business located at World Trade Center Bldg., 2-4-1 Hamamatsu-cho, Minato-ku, Tokyo, 105-

6135, Japan. ORIX Corporation’s policies and practices required it to be involved in and approve

decisions by the other ORIX entities with respect to investments of the size of ORIX’s

investment in NHCP. Individuals involved in ORIX’s decision-making and conduct with respect

to Dantzig and NHCP were jointly employed by ORIX Corporation and other ORIX defendants.




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        17.   All Defendants, ORIX AM Holdings, LLC, ORIX AM Investments, LLC, ORIX

GAM, LLC, ORIX USA Corporation, ORIX Asset Management, LLC, and ORIX Corporation,

are referred to collectively herein as “ORIX” or the “ORIX Defendants.”

        18.   With respect to the conduct described herein, ORIX acted jointly and without

consideration of the particular entities at issue. ORIX’s decision-making power was centralized

among a handful of individuals and those individuals made decisions on behalf of all ORIX

entities. In discussions with Dantzig, ORIX did not differentiate between the various Defendants

here.

        19.   Nominal Defendant New Health Capital Partners GP, LLC is a Delaware limited

liability company with its principal place of business located at 1350 Avenue of the Americas,

9th Floor, New York, New York 10019. When created in 2013, Plaintiff owned 50% of New

Health Capital Partners GP, LLC. Despite no longer having any actual or practical control over

the company, Plaintiff remains the 50% owner of New Health Capital Partners GP, LLC. ORIX

sends Plaintiff tax documents every year reporting profit and loss from Plaintiff’s putative

ownership however, ORIX and New Health Partners GP, LLC have never paid Plaintiff any of

this alleged income since he was terminated.

        20.   Nominal Defendant New Health Capital Partners Management, LP is a Delaware

limited partnership with its principal place of business located at 1350 Avenue of the Americas,

9th Floor, New York, New York 10019. When created in 2013, Plaintiff was the 100% owner of

New Health Capital Partners Management, LP. Despite no longer having any actual or practical

control over the company, Plaintiff remains the 100% owner of New Health Capital Partners

Management, LP. ORIX sends Plaintiff tax documents every year reporting profit and loss from




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Plaintiff’s putative ownership however, ORIX and New Health Partners Management, LP have

never paid Plaintiff any of this alleged income since he was terminated.

       21.     Nominal Defendant New Health Capital Partners Management GP, LLC is a

Delaware limited liability company with its principal place of business located at 1350 Avenue

of the Americas, 9th Floor, New York, New York 10019. When created in 2013, Plaintiff was the

100% owner of New Health Capital Partners Management GP, LLC. Despite no longer having

any actual or practical control over the company, Plaintiff remains the 100% owner of New

Health Capital Partners Management GP, LLC. ORIX sends Plaintiff tax documents every year

reporting profit and loss from Plaintiff’s putative ownership however, ORIX and New Health

Partners Management GP, LLC have never paid Plaintiff any of this alleged income since he was

terminated.

       22.     Nominal Defendant New Health Capital Partners Fund I, LLC is a Delaware

limited liability company with its principal place of business located at 1350 Avenue of the

Americas, 9th Floor, New York, New York 10019.

       23.     New Health Capital Partners GP, LLC, New Health Capital Partners

Management, LP, New Health Capital Partners Management GP, LLC, and New Health Capital

Partners Fund I, LLC are collectively referred to herein as “NHCP.”

       24.     The Nominal Defendants, as parties to the contracts breached, may have their

rights affected by this litigation and are, thus, named as defendants to the extent they may be

deemed necessary parties to this action. ORIX, however, is the governing entity, the entity that

caused Dantzig damages, and the entity in possession of the funds that should have been

conveyed to Dantzig.




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        25.     Attached hereto as Exhibit A is a chart of the agreements between the parties and

the definitions of those documents used herein.

        26.     Attached hereto as Exhibit B is a chart showing the structure of the NHCP

entities.


                                             FACTS

        27.     Dantzig and Baxter had previously worked together for approximately six years

for Fortress Investment Group, LLC, from 2004 to 2010.

        28.     In approximately November 2010, ORIX USA Corporation approached Dantzig

and Baxter about ORIX funding a private-equity vehicle.

        29.     In approximately January 2011, Dantzig, Baxter, and ORIX USA Asset

Management, LLC executed a term sheet.

        30.     Through the term sheet, ORIX, Dantzig, and Baxter agreed upon a joint venture to

start, invest in, and manage a private-equity vehicle focuses on healthcare investment

opportunities. The parties agreed to share the profits in certain proportions and allocation of

expenses.

        31.     The parties negotiated for several months thereafter through in September 2011,

when Dantzig, Baxter, and ORIX agreed to create several entities and enter into several written

agreements to facilitate their joint venture. Pursuant to September 2011 agreements, Dantzig and

Baxter were to operate healthcare-focused private-equity funds through NHCP and Defendants

would be a seed investor in NHCP.

        32.     At that time, ORIX committed $150 million in capital to NHCP. First, pursuant to

the express terms of the Service Agreements, and in conjunction with the various other NHCP




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agreements, ORIX agreed to make a $100 million capital commitment to New Health Capital

Partners Fund I (“Fund I”), a healthcare-focused private-equity fund.

       33.     Second, pursuant to the agreements, ORIX made a $50 million capital

commitment to NHCP’s next healthcare-focused private equity Fund (referred to as “Fund II”)

provided certain delineated conditions were met.

       34.     In exchange, Dantzig and Baxter each agreed to devote their full efforts to

managing ORIX’s investments in Fund I and Fund II and maximizing NHCP’s value for at least

two years after the launch of Fund II. (See, e.g., Services Agreements § 2).

       35.     Dantzig and Baxter also agreed to make investments into the joint venture and

purchase shares of various NHCP entities including personally investing in Fund I through New

Health Capital Partners GP, LLC. Dantzig made such a cash contribution to the New Health

Capital Partners GP, LLC.

       36.     In addition, Dantzig and Baxter both individually agreed to onerous

Confidentiality, Non-Competition and Non-Solicitation provisions (“Dantzig Non-Compete

Agreement” and “Baxter Non-Compete Agreement”) which restricted their activities until 18

months after their employment ended.

       37.     Fund I launched in September 2011.

       38.     NHCP’s investments for Fund I were very successful. Within approximately

seven months of launching Fund I, NHCP had fully committed the fund’s entire $100 million in

capital in three investments. Fund I was projected to generate at least a 14% gross unlevered

return by 2019, and approximately $40-$50 million of gross profit for ORIX. One of those

investments, a senior secured loan to a medical device company, generated greater than a 25%

gross unlevered return in June 2014 when the loan was repaid and the investment was fully




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realized, a gross profit to ORIX of approximately $18 million on that transaction alone. Over this

same time period to 2019, Dantzig’s compensation from Fund I was projected to total

approximately $2.7 million in salary and approximately $2.5 million in carried interest incentive

income.

       39.     Fund I made three investments. For one of Fund I’s investments, NHCP and

ORIX sought and obtained outside investors (“third-party investors”) to invest with them.

       40.     The investment that included these third-party investors was referred to as the

“SBI Co-Investment.”

       41.     The SBI Co-Investment had its own set of entities and agreements. NHCP and

ORIX created a New Health SBI Co-Invest LLC with a New Health SBI Co-Invest MM LLC as

its managing member. The other members of New Health SBI Co-Invest LLC were Dantzig,

Baxter, and the third parties. Dantzig and Baxter each made capital contributions to New Health

SBI Co-Invest LLC, and were each members of New Health SBI Co-Invest LLC.

       42.     New Health Capital Partners Management LP was the investment manager of

New Health SBI Co-Invest LLC and received management fees and other compensation for

doing so. (SBI Co-Invest Investment Management Agreement § 7).

       43.     New Health Capital Partners Management LP was entitled to notice to any

amendments to the New Health SBI Co-Invest LLC documents. (SBI Co-Invest Investment

Management Agreement § 5(b)).

       44.     By May 2013, NHCP had substantially met the preconditions stated in the

governing documents for Fund II, which would have triggered ORIX’s $50 million commitment

and its continuing obligation to pay management fees for both Fund I and Fund II. (See, e.g.,

Investment Agreement § 7.01; Operating Agreement §§ 5.11 and 5.12; Management GP




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Operating Agreement §§ 5.11 and 5.12; Management LP Operating Agreement § 5.13 and 5.14).

By May 2013, NHCP had commitments of approximately $50 million from two blue-chip

institutional investors for Fund II, and additional institutional investors were performing due

diligence in contemplation of a commitment to Fund II. In addition to the preconditions being

substantially met, the explicit expiration provisions with respect to ORIX’s capital commitment

to Fund II had not occurred. (Investment Agreement § 7.01(b)).

        45.     Fund II would have launched but-for ORIX’s conduct described herein.

        46.     Compensation for Fund II to Dantzig and NHCP would be additive to the

compensation described above for Fund I. Plus, with this opportunity to bring in additional

investors, the economic magnitude for Fund II and the resulting opportunities were significantly

greater.

        47.     Notwithstanding these successes, on May 10, 2013, Baxter informed Dantzig that

the previous day (May 9, 2013), he (Baxter) had informed ORIX that he intended to resign from

NHCP.

        48.     At the time the agreements were drafted, the parties had specifically contemplated

and extensively negotiated the procedures that would occur in the event of resignation by either

Baxter or Dantzig prior to the second anniversary of the closing of Fund II. The parties’

agreements devote several pages to that possibility, all of which Defendants ignored at the time

they cut Dantzig out of his contractual rights.

        49.     Because Baxter intended to leave prior to the two-year anniversary of Fund II, he

was characterized as a “Bad Leaver” under the contracts. (Services Agreement §§ 3(b) and 6(b);

Management LP Operating Agreement, Definition of “Bad Leaver”). In addition, Baxter

intended to work for a competitor which would have created an independent ground for Baxter to




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be deemed a “Bad Leaver.” (Baxter Non-Compete Agreement; Management LP Operating

Agreement, Definition of “Bad Leaver”).

       50.     The documents explicitly describe the contemplated procedures, economic

impact, and mechanism for replacing the resigning partner. (See, e.g., Operating Agreement

§§ 5.1, 5.2, and 13.5 and Schedules A-1, A-2, and A-3; Management GP Operating Agreement

§§ 5.1, 5.2 and 13.5; Management LP Operating Agreement § 5.2). They entailed that the

remaining individuals would propose a replacement partner and that the parties consent to the

replacement, among other provisions.

       51.     Also, pursuant to the terms of the agreements, Baxter’s resignation should have

triggered the forfeiture of certain compensation and equity interests of Baxter and the potential to

reassign them to a replacement. (See, e.g., Operating Agreement § 13.5 and Schedules A-1, A-2,

and A-3; Management GP Operating Agreement § 13.5; Management LP Operating Agreement

§ 13.5). At the time, Dantzig expected the parties to comply with these extensively-bargained-for

rights and immediately began good-faith efforts to replace Baxter as required under the

governing agreements.

       52.     Further, Baxter was subject to the Baxter Non-Compete Agreement after his

resignation from NHCP, including restrictions on the types of business for which he could work

and restrictions on the potential employees, clients, and investors he could solicit.

       53.     Baxter wanted ORIX and NHCP to waive the restrictive covenants of the Baxter

Non-Compete Agreement, including the relevant provisions restricting the solicitation of NHCP

employees.

       54.     Upon information and belief, Baxter would not leave NHCP unless the Baxter

Non-Compete Agreement was waived.




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       55.    Under the contracts, independent of whether ORIX chose to enforce the Baxter

Non-Compete Agreement, Dantzig had his own ability to enforce the agreement. Dantzig made

clear that he would not waive the Baxter Non-Compete Agreement, and Baxter made clear that

he would not leave unless it was waived by all parties. Thus, to get the cooperation from Baxter

that it wanted, ORIX needed to remove Dantzig’s ability to enforce the Baxter Non-Compete

Agreement.

       56.    Upon learning of Baxter’s intention to resign, ORIX deliberately and prematurely

began to end NHCP’s operations, without making a good faith effort to work with Dantzig to

preserve and optimize the partnership value, franchise value, and good will of NHCP, including

NHCP’s management of Fund I, the SBI Co-Investment, and Fund II, and refused to assist

Dantzig in his efforts to replace Baxter. ORIX thus violated its express and implied obligations

to Dantzig and to NHCP. (See, e.g., Services Agreements § 4; Fund I LPA Article IV; Operating

Agreement §§ 5.6 and 13.5; Management GP Operating Agreement §§ 5.6 and 13.5;

Management LP Operating Agreement § 5.8).

       57.    Attached hereto as Exhibit C is an email chain that includes a June 25, 2014 email

from Mike Kelly (“Kelly”), then-CEO of ORIX USA Asset Management, to Baxter. Kelly

describes that “Orix is being very fair in [its] proposal based on the written agreement and the

restrictions it would bind you to should you decide to leave right now. Our economic proposal is

as far as we will go given the circumstances. We will need to provide an incentive for those here

on our side to help us on an ongoing basis with these assets so will need the economics for that.

We also would like to move quickly now on winding things down so we will need to know

whether you accept our proposal in the next 24 hours.”




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       58.     Dantzig was intentionally not included on the email and ORIX and Baxter

intentionally did not tell Dantzig that ORIX and Baxter were negotiating conditions and the

economics of Baxter leaving the NHCP venture.

       59.     ORIX offered to: (1) permit Baxter to leave the venture and get out of his

obligations to NHCP; (2) not deem Baxter to be a Bad Leaver despite the numerous provisions of

the documents that required that he receive such treatment; (3) increase the compensation Baxter

would otherwise be entitled to under the agreements; (4) release Baxter from the non-compete

provisions; and (5) manufacture a way that Dantzig could not to enforce the non-compete

provisions despite the fact that Dantzig’s rights to do so were specifically and intentionally

bargained for by Dantzig in agreeing to the documents..

       60.     To receive this favorable treatment, Baxter had to cooperate with ORIX in:

(1) providing notice of future termination of Dantzig’s employment with the purpose of

involuntarily removing Dantzig from the various boards immediately; (2) denying Dantzig the

compensation he was entitled to under the agreements; and (3) voting with ORIX to have ORIX

take control of Fund I and the assets.

       61.     Baxter agreed to ORIX’s proposal.

       62.     ORIX and Baxter could not have accomplished their goal through the documents

themselves. The contractual triggering events for a No Fault Dissolution had not occurred and,

even if they, dissolution would have taken months to accomplish and would not have denied

Dantzig of his contractual compensation. (Operating Agreement § 5.11; Management GP

Operating Agreement § 5.11; Management LP Operating Agreement § 5.13). Similarly, a board

vote to dissolve the funds would not have removed Dantzig from the board of the NHCP entities

and in fact, upon Baxter leaving, would have triggered the requirement that Dantzig nominate




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additional board members that were not affiliated with ORIX such that the Board consist of two

non-ORIX members (including Dantzig) and one ORIX member. (Operating Agreement §

5.1(a); Management GP Operating Agreement § 5.1(a)). This provision enabled Dantzig to

continue to enforce the Baxter Non-Compete Agreement. In addition, a board vote to dissolve

Fund I would not have released ORIX’s contractual obligations to Dantzig and NHCP related to

the SBI Co-Investment. Thus, ORIX and Baxter needed to breach the contracts and violate the

covenant of good faith and fair dealing to accomplish their respective goals.

       63.      Dantzig, on the other hand, made significant efforts to abide by the various

agreements and to preserve NHCP’s value.

       64.      First, Dantzig tried to convince Baxter to reconsider his decision and remain with

NHCP. Baxter, however, would not reconsider, apparently because ORIX had cut a secret deal

with Baxter that increased his compensation and permitted him to violate his non-compete

provisions even absent Dantzig’s consent.

       65.      Second, when it became apparent that Baxter would not reconsider, Dantzig

began transition planning. In June 2013, pursuant to the governing agreements, Dantzig sent

ORIX several presentations concerning transition plans, including plans to replace Baxter, all of

which were designed to preserve the value of NHCP and to enable it to continue to operate

successfully.

       66.      A potential replacement candidate Dantzig proposed was highly qualified. ORIX,

however, refused to even consider the applicant, in violation of its implied covenant of good

faith and fair dealing and its duties to the partnership and its partners. (See, e.g., Operating

Agreement § 5.1(a); Management GP Operating Agreement § 5.1(a); Management LP Operating




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Agreement § 5.1(c)). Similarly, when Dantzig proposed three other highly-qualified candidates,

ORIX refused to consider any of them.

       67.    On July 1, 2016, ORIX also, in bad faith, refused Dantzig’s efforts to schedule a

Board of Directors meeting for early July 2013 to proceed with the transition planning and to

bring to the board for ratification Dantzig’s selection of extremely qualified replacement Key

Persons. (See, e.g., Operating Agreement § 5.1(c); Management GP Operating Agreement §

5.1(c)). Rather than fulfill its obligation to preserve the value of NHCP (which included working

in good faith to find a replacement Key Person for the Board), ORIX deliberately and in

violation of the relevant agreements: (1) stopped paying contractually-owed management fees to

NHCP—which under the agreements, belonged at least partially to Dantzig and would have

belonged fully to Dantzig upon Baxter leaving; (2) eliminated NHCP’s on-going partnership

value—of which Dantzig was, and remains, an investor and the 100% owner; (3) assumed

control over NHCP’s operations; (4) refused to go forward with Fund II, and (5) ultimately

expelled Dantzig. (See, e.g., Operating Agreement §§ 5.1(a) and 5.6; Management GP Operating

Agreement §§ 5.1(a) and 5.6; Management LP Operating Agreement § 5.8).

       68.    Instead, on or around July 2, 2013, one day after Dantzig requested a meeting of

the Board of Directors, ORIX sent a letter to Danzig falsely stating “[ORIX] has no choice but to

pursue the dissolution of Fund I [and] the wind-down of NHCP.” ORIX made no mention of its

side agreement with Baxter and provided no further explanation for this decision that was not in

the interest of NHCP or Dantzig.

       69.    The governing agreements specifically prohibited agreements between members

such as ORIX and Baxter without full knowledge of all members, arms-length negotiations, and

Board approval. (Operating Agreement §§ 5.10 and 15.5(b); Management LP Operating




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Agreement §§ 5.12 and 15.5(b); Management GP Operating Agreement §§ 5.10 and 15.5(b)).

Thus, the secret agreement between ORIX and Baxter in June 2014 to provide notice of

termination to Dantzig in order to immediately remove Dantzig from the relevant boards and

cooperate in depriving him of his contractual rights (and to not enforce the non-compete

agreement against Baxter), which was not disclosed, not arms-length, and not approved by the

Board, explicitly breached the governing documents. (Operating Agreement §§ 5.10 and 15.5(b);

Management GP Operating Agreement §§ 5.10 and 15.5(b); Management LP Operating

Agreement §§ 5.12 and 15.5(b)).

       70.     This conduct by ORIX and Baxter deprived Dantzig of all of the intended benefits

of the agreements after he had substantially performed his obligations. (See, e.g., Services

Agreements § 4; Fund I LPA Article IV; Operating Agreement §§ 14.1, 15.5(b); Management

GP Operating Agreement §§ 5.6, 14.1 and 15.5(b); Management LP Operating Agreement §§

5.8, 14.1 and 15.5(b)).

       71.     On July 11, 2013, Dantzig responded to ORIX’s July 2, 2013 letter stating that he

would not agree to resign; would not agree to the dissolution of Fund I; and would not agree to

wind down NHCP. Dantzig also referenced the sections of the governing agreements that

required “approval of the dissolution of the Company [NHCP] by a Majority-in-Interest of the

Non-OAM Members with the prior written consent of the OAM Member ….” before New

Health Capital Partners GP LLC, New Health Capital Partners Management LP, or New Health

Capital Partners Management GP LLC could be dissolved. (See, e.g., Management GP Operating

Agreement § 14.1; Management LP Operating Agreement § 14.1). Dantzig was unaware that

ORIX had already arranged for Baxter’s cooperation to try to manufacture this approval.




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       72.     None of the performance triggers had occurred that would have permitted ORIX

to dissolve the fund. (Operating Agreement § 5.11; Management GP Operating Agreement

§ 5.11; Management LP Operating Agreement § 5.13). Thus, pursuant to the governing

agreements, ORIX could not complete its desired dissolution of NHCP if Dantzig refused to vote

with ORIX to do so.

       73.     In the July 11, 2013 letter, Dantzig further invoked his rights as a member,

principal, and Director of NHCP to be “actively involved with any discussions [ORIX] may have

with Baxter about Baxter’s potential resignation.” In the July 11, 2013 letter, Dantzig also stated

that “[i]f [ORIX] continues to desire to unwind this otherwise profitable venture, Mr. Dantzig

would be willing to discuss reasonable terms for his departure.” Unbeknownst to Dantzig, in

violation of the agreements, those discussions had already occurred and led to the agreement

between ORIX and Baxter described above. (See, e.g., Operating Agreement §§ 5.10 and

15.5(b); Management GP Operating Agreement §§ 5.10 and 15.5(b); Management LP Operating

Agreement §§ 5.12 and 15.5(b))

       74.     Minutes after receiving Dantzig’s July 11, 2013 letter, ORIX sent an email to

Dantzig stating that it had decided to provide notice of termination of his employment without

cause effective January 11, 2014. This document was signed by both ORIX and Baxter.

       75.     At the time it provided notice of future termination of his employment, ORIX

forced Dantzig to resign immediately from the Board and from all Board committees. This was

the outcome ORIX and Baxter needed to ensure Dantzig would not be able to enforce the non-

compete provisions against Baxter.

       76.     By providing notification of future termination of Dantzig’s employment, forcing

him to resign immediately from the Board and all associated committees, and entering into its




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secret agreement with Baxter, ORIX was able to create the appearance of having the required

votes needed to dissolve NHCP and Fund I and thereby avoid ongoing management fees payable

to NHCP for Fund I, and future management fees and committed capital obligations to NHCP for

Fund II. (See, e.g., Services Agreements § 4; Fund I LPA §§ 3.2, Article IV; Management GP

Operating Agreement §§ 5.6 and 14.1; Management LP Operating Agreement §§ 5.8 and 14.1).

Of note, ORIX and Baxter formed their side agreement to manufacture this result weeks before

providing notice of termination to Dantzig . (See Exhibit C).

        77.     On July 12, 2013, one day after sending Dantzig notice of termination of his

employment (effective six months thereafter), ORIX began implementing its dissolution of Fund

I, the SBI Co-Investment, and NHCP, in a manner contrary to the governing agreements and

denying Dantzig the compensation he had previously earned and should have earned throughout

the dissolution process.

        78.     Within days of providing Dantzig notice of the future termination of his

employment (effective in six months), ORIX and Baxter immediately disseminated to investors

and counterparties false information that Dantzig was no longer an employee of NHCP, and that

the “Key Person” provision had been triggered—meaning that Dantzig was no longer working

for the company. (See, e.g., Operating Agreement § 13.3(b); Management GP Operating

Agreement § 13.3(b); Management LP Operating Agreement § 13.3(b); Fund I LPA § 4.11; SBI

Co-Invest LLC Agreement § 6.5(c)). In fact, Dantzig remained an employee and member of

NHCP until January 11, 2014 and it was, in fact, Baxter that had triggered the Key Person

provision by intending to be, and becoming, a “Bad Leaver” as defined in the agreements. 1 (See,

e.g., Operating Agreement § 1.1; Management LP Operating Agreement § 1.1).


1
 Baxter commenced work for a competitor of NHCP within four months of July 2013, rather than the required 18
months, in breach of several of the governing agreements.


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         79.   By disseminating this false information, ORIX disparaged Dantzig and placed

Dantzig in a false light with NHCP’s then-existing investors, potential investors, counterparties,

service providers, and employees. (See, e.g., Operating Agreement § 13.3(b); Management LP

Operating Agreement § 13.3(b); and Management GP Operating Agreement § 13.3(b)). By

falsely stating that Dantzig’s employment had been terminated effective immediately, it created

the implication that Dantzig had engaged in wrongdoing or that there was cause to fire him,

rather than the required six-month notice that Dantzig was entitled upon a termination without

cause.

         80.   After receiving notice of his future termination, Dantzig tried to acquire Fund I’s

assets as part of his continuing efforts to preserve the partnership’s value. On August 9, 2013, he

sent a letter to Kelly informing ORIX that he “would like to express [his] earnest interest and

financial ability to acquire [all or a portion of Fund I’s assets].” Dantzig pointed out that he was

extremely familiar with the assets and that he had an obligation to the partners and shareholders

of Fund I (including the SBI co-investors) to maximize the value of Fund I and the SBI Co-

Investment.

         81.   ORIX never substantively considered Dantzig’s proposal.

         82.   On October 1, 2013, Dantzig sent an email to Kelly again “expressing [his]

willingness and financial ability (via a financial partner) to acquire the assets which presently

reside in New Health Capital Partners Fund I.” This time, Dantzig attached to his email a signed

letter of financial support from one of the world’s largest asset management firms, with assets

under management exceeding $300 billion, (Dantzig’s “Financial Partner”). Individuals at this

Financial Partner also tried to reach out to Kelly several times about their desire to partner with




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Dantzig and purchase the assets. Kelly did not respond to the Financial Partner’s efforts to reach

him.

       83.     ORIX again did not substantively consider Dantzig’s proposal. ORIX never

provided any basis for its refusal to even consider Dantzig’s offers to acquire Fund I’s assets,

which was in the best interest of the partnership.

       84.     On or before November 2014, Baxter was working for a competitor of NHCP and

had hired a former NHCP employee in violation of the Non-Compete Agreement. Thus, from at

least that point, Dantzig was the only principal of NHCP and should still have been receiving

management fees with respect to Fund I. Pursuant to the Fund I LPA, ORIX’s efforts to dissolve

the fund due to a Key Person event (either Baxter or Dantzig) required at least 135 days but

ORIX did not pay Dantzig the management fees and other incentive compensation due during

that timeframe. (Fund I LPA §§ 3.2 and 4.11).

       85.     ORIX later sold Fund I’s assets to other parties, receiving substantially less value

for the assets than the price offered by Dantzig. (See, e.g., Management GP Operating

Agreement § 5.6; Management LP Operating Agreement § 5.8). Doing so damaged Dantzig as

an investor in Fund I, and the associated investment attribution of Fund I. In addition, ORIX, in

violation of the relevant agreements, eliminated NCHP’s investment management agreement,

and associated economic value, related to a NHCP sponsored co-investment vehicle (the “SBI

Co-Investment”), that included third party investors. (See, e.g., SBI Co-Invest Investment

Management Agreement §§ 1, 2, 7, and 14; SBI Co-Invest LLC Agreement Articles 7.1 and XI).

Dantzig was, and remains, the 100% owner of the relevant NHCP entities.




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                                  DAMAGE TO DANTZIG

       86.    As a result of its conduct, ORIX intentionally and wrongfully ended NHCP’s

operations prematurely. This damaged Dantzig by denying him: (1) his portion of the

compensation and other value built up in NHCP by successfully operating and managing NHCP,

including the fee income related to Fund I, (2) the value of NHCP’s investment management

agreement with the SBI Co-Investment, and (3) the compensation derived from operating and

managing NHCP’s intended Fund II. (See, e.g., Services Agreements § 4; Fund I LPA Article

IV; Operating Agreement § 5.2; Management GP Operating Agreement §§ 5.2 and 5.6;

Management LP Operating Agreement §§ 5.2 and 5.8; SBI Co-Invest Investment Management

Agreement §§ 1, 2, 7, and 14; SBI Co-Invest LLC Agreement Articles 7.1 and XI).

       87.    In addition, under the governing documents, Baxter’s intended resignation prior to

the two-year anniversary of the Closing of Fund II, rendered Baxter a “Bad Leaver,” and entitled

Dantzig to a reassignment of a portion of Baxter’s carried interest, management fees, and other

incentive compensation, among other compensation and rights. (See, e.g., Operating Agreement

§ 1.1 and Schedules A-1, A-2, and A-3; Management LP Operating Agreement §§ 1.1 and 13.5).

Dantzig did not receive the compensation to which he was entitled.

       88.    Further, as of July 1, 2013, the NHCP management company held cash in the

amount of approximately $800,000 for past management fees already paid to NHCP—almost all

of which should have been paid to Dantzig pursuant to the agreements. In fact, Dantzig had

already paid taxes on a portion of this compensation. ORIX took this $800,000 from Dantzig

when it took control of NHCP and, in violation of the agreements, took control of NHCP’s bank

accounts. Dantzig has not received any portion of the $800,000.




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        89.      In addition, ORIX owed NHCP management fees through, at least, the first

quarter of 2014 in the amount of at least $706,000. 2 (See, e.g., Fund I LPA §§ 3.2, 4.11 and 6.2).

ORIX’s conduct denied Dantzig his portion of the amount he was owed, which was nearly all of

this amount given Baxter’s formal and actual separation from NHCP in approximately

September 2013.

        90.      Dantzig also owned 50% of the carried interest related to NHCP’s investment

management agreement for the SBI Co-Investment, which was worth approximately $1,000,000.

Upon Baxter’s resignation, Dantzig was also entitled to approximately 50% of Baxter’s carried

interest on the SBI Co-Investment, which represents approximately an additional $500,000. (See,

e.g., Operating Agreement § 13.5 and Schedules A-1, A-2, and A-3; Management GP Operating

Agreement § 13.5; Management LP Operating Agreement § 13.5). ORIX intentionally destroyed

the value of NHCP’s investment management agreement for the SBI Co-Investment which

intentionally eliminated any portion of the carried interest which would have otherwise been

payable to Dantzig. ORIX terminated NHCP’s investment management agreement with respect

to the SBI Co-Investment, destroying the franchise value and good will. (Operating Agreement §

9.1(f)). Thus, ORIX’s conduct denied Dantzig approximately $1.25 million in carried interest he

was owed and otherwise would have received per the terms of relevant agreements, including the

SBI Co-Investment. (Operating Agreement § 9.1(f); SBI Co-Invest Investment Management

Agreement § 7; SBI Co-Invest LLC Agreement Articles 3.3, VI, XII).

        91.      ORIX’s conduct also denied Dantzig the compensation and other benefits he

would have received from Fund II. Fund II would have been worth $7,500,000 or more in fees


2
  Due to the timing requirements of the Fund I LPA, ORIX could not have avoided the management fees for the
fourth quarter of 2013 and the first quarter of 2014, which would have resulted in $706,000 to NHCP, all of which
should have been paid to Dantzig since Baxter was working for a competitor by November 2013 and Dantzig
remained the sole owner of the relevant NHCP entities.


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and carry to Dantzig. Given the success of Fund I and ability to make Fund II a larger fund, the

likely value to Dantzig would have been much higher.

       92.     Further, ORIX has been sending Dantzig tax documents each year that indicate

Dantzig is entitled to income from the NHCP entities that he still owns—Dantzig remains the

100% owner of New Health Capital Partners Management, LP and New Health Capital Partners

Management GP, LLC and the 50% owner of New Health Capital Partners GP, LLC. Despite the

fact that ORIX apparently expects Dantzig to pay taxes on this income, Defendants have not

actually paid him any of the income described in the tax documents. Further, as the entities are

still active, ORIX’s fee obligations to the companies still exist and should have been paid.

       93.     Finally, despite that fact that ORIX chose not to enforce the Baxter Non-Compete

Agreement against Baxter, ORIX did maliciously enforce the Dantzig Non-Compete Agreement

against Dantzig, damaging his ability to work and solicit former NHCP employees for 18

months. To the extent ORIX purports to have exercised the No Fault Dissolution of NHCP, the

Non-Compete Agreement should not have been enforceable against Dantzig. (Services

Agreement § 1.33). ORIX did so anyway.

       94.      In addition, Dantzig would have been the sole remaining decision-maker for

NHCP and could, independent of ORIX, appoint additional board members—it was a

requirement of the documents that ORIX not control a majority of the board (Operating

Agreement § 5.1(a); Management GP Operating Agreement § 5.1(a))—and to enforce the Baxter

Non-Compete Agreement against Baxter. (See, e.g., Operating Agreement §§ 5.10 and 15.5(b);

Management GP Operating Agreement §§ 5.10 and 15.5(b); Management LP Operating

Agreement §§ 5.12 and 15.5(b)). ORIX intentionally removed Dantzig’s ability to enforce the

agreement against Baxter and the value doing so had to Dantzig.




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       95.    There was no reasonable, good-faith, basis for ORIX to engage in the conduct it

did on behalf of the NHCP entities or the SBI Co-Investment. ORIX’s conduct destroyed all

value of Fund I and the SBI Co-Investment to the NHCP entities and Dantzig and eliminated

substantial compensation NHCP and Dantzig were entitled to without basis or NHCP or Dantzig

receiving any benefits. By opting to dissolve Fund I, remove NHCP as investment manager for

the SBI Co-Investment, and provide notice of termination of Dantzig’s employment, ORIX

intentionally sought to prematurely recoup its capital commitment in anticipatory repudiation of

its obligations to Dantzig and NHCP.

       96.    Further, without basis, ORIX intentionally paid Baxter more than he was entitled

to under the governing agreements and refused to enforce the Baxter Non-Compete Agreement

for the sole purpose of enlisting Baxter’s help in its desire to gain the benefits of its capital

commitment without it being required to pay the corresponding contractual benefits to Dantzig

and NHCP.

       97.    The conduct was designed solely to destroy Dantzig’s contractual rights and to

avoid ORIX’s contractual obligations without conveying any benefits to NHCP or the SBI Co-

Investment.

                                    CAUSES OF ACTION

                FIRST CAUSE OF ACTION – BREACH OF CONTRACT
                             (Against All Defendants)

       98.    Plaintiff incorporates and realleges all of the foregoing allegations of the

Complaint.

       99.    Plaintiff and ORIX entered into numerous contracts governing their relationship.

       100.   To the extent any of the ORIX entities did not directly execute the contracts, they

are agents and alter egos of each other with respect to the contracts and knowingly accepted the



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benefits of the contracts. The ORIX entities acted collectively without regard to corporate

formalities.

       101.    ORIX breached Section 2 of the Dantzig Service Agreement by wrongfully

terminating his employment and removing him from the relevant boards.

       102.    ORIX breached Section 4 of the Dantzig Service Agreement by withholding

compensation that he earned.

       103.    ORIX breached Section 7.01 of the Investment Agreement by failing “to use

commercially reasonable efforts to finalize the” documents for Fund II, including by cooperating

in appointing a replacement for Baxter (see, e.g., Operating Agreement § 5.1(a); Management

GP Operating Agreement § 5.1(a); Management LP Operating Agreement § 5.1(c)), and by

intentionally and in bad faith avoiding ORIX’s contractual obligations with respect to Fund II.

       104.    ORIX breached Section 5.1(a) of the Operating Agreement by manufacturing the

removal of Dantzig from the Board, operating without three Board members including two non-

ORIX members, and by refusing Dantzig’s “commercially reasonable efforts to propose to

[ORIX] additional Key Persons for Board membership.” In fact, ORIX intentionally, and in bad

faith, sought to avoid this express provision—ORIX wanted full control of the board, not the

minority stake explicitly required under the agreements.

       105.    ORIX breached Sections 5.2, 5.11, 5.12, and 9.1 of the Operating Agreement by

failing to establish Fund II, failing to consent to Fund II, and denying Dantzig the management

fees and incentive income described therein. ORIX also breached Section 5.2 of the Operating

Agreement by not maximizing the value of Fund I and the SBI Co-Investment and failing to

properly compensate Dantzig upon the sale of the SBI Co-Investment and the other Fund I

investments to third parties.




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       106.     ORIX breached Section 5.11 of the Operating Agreement by dissolving the Fund

without a defined event occurring.

       107.     ORIX breached Section 13.3(b) of the Operating Agreement by disparaging

Dantzig when ORIX falsely informed investors, employees, and others that Dantzig was no

longer an employee in July 2013 when he, in fact, remained an employee through January 2014.

       108.     ORIX breached Section 13.5 of the Operating Agreement by failing to reassign

Baxter’s “units” of NHCP to Dantzig.

       109.     ORIX breached Section 14.1 of the Operating Agreement by dissolving and

winding up NHCP entities without approval of the “Majority-in-Interest of the Non-[ORIX]

Members.”

       110.     ORIX breached Section 14.2 of the Operating Agreement by failing to distribute

Dantzig’s economic interests in NHCP by the end of the taxable year of liquidation.

       111.     ORIX breached Section 15.5(b) of the Operating Agreement by attempting to

amend the agreements between the parties other than in writing and without more than 75% of

the non-ORIX members.

       112.     Since, at the time Baxter left NHCP, Dantzig was still an employee—his notice of

termination was not effective until January 2014, ORIX breached Schedules A-1, A-2, and A-3

of the Operating Agreement by failing to reassign Baxter’s economics to Dantzig upon Baxter

leaving.

       113.     ORIX breached Section 5.1(a) of the Management GP Operating Agreement by

manufacturing the removal of Dantzig from the Board, operating without three Board members

including two non-ORIX members, and by refusing Dantzig’s “commercially reasonable efforts

to propose to [ORIX] additional Key Persons for Board membership.” In fact, ORIX




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intentionally, and in bad faith, sought to avoid this express provision—ORIX wanted full control

of the board, not the minority stake explicitly required under the agreements.

       114.    ORIX breached Section 5.1(c) of the Management GP Operating Agreement by

failing to attend and participate in a Board meeting upon reasonable notice.

       115.    ORIX breached Sections 5.2, 5.11, 5.12 and 9.1 of the Management GP Operating

Agreement by failing to establish Fund II, failing to consent to Fund II, and denying Dantzig the

management fees and incentive income described therein. ORIX also breached Section 5.2 of the

Management GP Operating Agreement by not maximizing the value of Fund I and the SBI Co-

Investment and failing to properly compensate Dantzig upon the sale of the SBI Co-investment

and the other Fund I investments to third parties.

       116.    ORIX breached Section 5.6 of the Management GP Operating Agreement by

failing “to preserve the good will and franchise value of the Company” by improperly removing

assets and compensation from NHCP and failing to maximize the value of Fund I’s investments

and of the SBI Co-Investment.

       117.    ORIX breached Section 5.10 of the Management GP Operating Agreement by

secretly negotiating, and agreeing with Baxter, to: (1) increase Baxter’s contractual

compensation, (2) wind-down NHCP’s operations, (3) provide notice of future termination of

Dantzig’s employment, and (4) deny Dantzig is contractual compensation, all without Dantzig’s

knowledge, in non-arms-length negotiations, and without Board approval.

       118.    ORIX breached Section 5.11 of the Management GP Operating Agreement by

dissolving the Fund without a defined event occurring.

       119.    ORIX breached Section 13.3(b) of the Management GP Operating Agreement by

disparaging Dantzig when ORIX falsely informed investors, employees, and others that Dantzig




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was no longer an employee in July 2013 when he, in fact, remained an employee through

January 2014.

       120.     ORIX breached Section 13.5 of the Management GP Operating Agreement by

failing to reassign Baxter’s “units” of NHCP to Dantzig.

       121.     ORIX breached Section 14.1 of the Management GP Operating Agreement by

dissolving and winding up NHCP entities without approval of the “Majority-in-Interest of the

Non-[ORIX] Members.”

       122.     ORIX breached Section 14.2 of the Management GP Operating Agreement by

failing to distribute Dantzig’s economic interests in NHCP by the end of the taxable year of

liquidation.

       123.     ORIX breached Section 15.5(b) of the Management GP Operating Agreement by

attempting to amend the agreements between the parties other than in writing and without more

than 75% of the non-ORIX members and otherwise without Dantzig’s consent.

       124.     ORIX breached Sections 5.2, 5.13, 5.14, and 9.1 of the Management LP

Operating Agreement by: (1) failing to establish Fund II, (2) failing to consent to Fund II, (3)

denying Dantzig the management fees and incentive income described therein, and (4) failing to

work with Dantzig to honor ORIX’s obligations to maximize NHCP’s franchise value and good

will by working with Dantzig to establish Fund II. ORIX also breached Section 5.2 of the

Management LP Operating Agreement by failing to properly compensate Dantzig upon the sale

of the SBI Co-investment and the other Fund I investments to third parties.

       125.     ORIX breached Section 5.8 of the Management LP Operating Agreement by

failing “to preserve the good will and franchise value of the Company,” improperly removing




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assets and compensation from NHCP and failing to maximize the value of Fund I’s investments

and of the SBI Co-Investment.

       126.     ORIX breached Section 5.12 of the Management LP Operating Agreement by

secretly negotiating with, and agreeing with Baxter, to: (1) increase Baxter’s contractual

compensation, (2) wind-down NHCP’s operations, (3) provide notice terminating Dantzig’s

employment, and (4) deny Dantzig his contractual compensation and his other bargained-for

benefits and rights under the agreements, all without Dantzig’s knowledge, in non-arms-length

negotiations, and without Board approval.

       127.     ORIX breached Section 5.13 of the Management LP Operating Agreement by

dissolving the Fund without a defined event occurring and failing to pay Dantzig his economic

interest in the NHCP entities.

       128.     ORIX breached Section 13.3(b) of the Management LP Operating Agreement by

disparaging Dantzig when ORIX falsely informed investors, employees, and others that Dantzig

was no longer an employee in July 2013 when he, in fact, remained an employee through

January 2014.

       129.     ORIX breached Section 13.5 of the Management LP Operating Agreement by

failing to reassign Baxter’s “units” of NHCP to Dantzig.

       130.     ORIX breached Section 14.1 of the Management LP Operating Agreement by

dissolving and winding up NHCP entities without approval of the “Majority-in-Interest of the

Non-[ORIX] Members.”

       131.     ORIX breached Section 14.2 of the Management LP Operating Agreement by

failing to distribute Dantzig’s economic interests in NHCP by the end of the taxable year of

liquidation.




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          132.   ORIX breached Section 15.5(b) of the Management LP Operating Agreement by

attempting to amend the agreements between the parties other than in writing and without more

than 75% of the non-ORIX members and otherwise without Dantzig’s consent.

          133.   ORIX breached Article IV of the Fund I LPA by failing to pay Dantzig the profits

he earned and failing to pay Dantzig the distributions reflected in the tax documents ORIX sent

to him.

          134.   ORIX breached Section 4.11 of the Fund I LPA by failing to follow the

procedures set forth therein (and in other sections of the agreements) upon Baxter announcing his

attention to leave the venture, including by failing to wait at least 90 days to try to end the

venture (plus another 15-days notice to remove the investment manager and 30 days of notice t

dissolve the fund) and by failing to pay Dantzig for his interest in NHCP where the section

requires that NHCP be deemed to have the rights of a limited partner. The Fund I LPA requires

management fees to be paid for additional quarters, including during a timeframe when Baxter

was no longer working at NHCP and Dantzig was still an owner of NHCP, but ORIX failed to

make those payments.

          135.   ORIX breached Section 5.1(e) of the Fund I LPA by failing to appoint an

appropriate liquidator of Fund I when required to do so.

          136.   ORIX breached Sections 3.2 and 6.2 of the Fund I LPA by denying Dantzig the

management fees and incentive income described therein, including the approximately $800,000

in an NHCP account that almost entirely belonged to Dantzig, a substantial portion of which

Dantzig had already paid taxes.

          137.   ORIX breached Sections 1, 2, 7, and 14 of the SBI Co-Invest Investment

Management Agreement by terminating Dantzig’s employment and removing NHCP as the




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investment manager, thus denying Dantzig the incentive compensation to which he was entitled

for his work in managing the investments of the SBI Co-Investment and destroying the franchise

value and good will to NHCP, in violation of the agreements.

       138.   ORIX breached Section 3.3, Article VI, Section 6.5 of the SBI Co-Invest LLC

Agreement by terminating Dantzig’s employment and removing NHCP as the investment

manager, thus denying Dantzig the incentive compensation to which he was entitled for his work

in managing the investments of the SBI Co-Investment and destroying the franchise value and

good will to NHCP, in violation of the agreements.

       139.   ORIX breached Section 7.1, Articles XI and XII of the SBI Co-Invest LLC

Agreement by taking control of the SBI Co-Investment, amending the documents, and selling it

without following the procedures in the agreement, including by failing to get the consent of

Dantzig as an investor and Member for changes that affected him or paying Dantzig the

incentive compensation to which he was entitled.

       140.   ORIX breached Section 3.4 of the SBI Co-Invest LLC Agreement by failing to

resolve the conflict between members ORIX and Dantzig in a way that is “fair and equitable to

the Company, the Members, and the Managing Member,” and by failing to “promptly provide

notice and an explanation of such conflicts to Members.”

       141.   ORIX breached Section 1.33 of the Dantzig Non-Compete Agreement by

enforcing the non-compete agreement without authority to do so.

       142.   Plaintiff has been damaged by ORIX’s conduct in an amount to be proven at trial.

Dantzig’s damages include:

              a. The $800,000 taken from NHCP that almost entirely belonged to Dantzig;




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              b. Removing Dantzig’s employment and post-employment health and other

                  benefits;

              c. Dantzig’s contractual compensation from Fund I of approximately $2.7

                  million in salary and approximately $2.5 million in carried interest incentive

                  income;

              d. Dantzig’s     compensation     from    the    SBI   Co-Investment,    including

                  approximately $1.5 million in carried interest and additional amounts due to

                  Dantzig as an investor and member upon the sale of the investment;

              e. NHCP distributions that have been reflected in tax documents issued to

                  Dantzig based on his continued ownership of the NHCP entities that were

                  never paid to Dantzig;

              f. Dantzig’s contractual compensation from Fund II of at least $7.5 million in

                  fees and carried interest incentive income which likely would have been much

                  greater.

       143.   Thus, due to ORIX’s breaches of contract, Dantzig is entitled to at least

$13,500,000, plus pre- and post-judgment interest and costs.

        SECOND CAUSE OF ACTION – INDUCING BREACH OF CONTRACT
      (Against Defendants ORIX Asset Management, LLC, ORIX GAM, LLC, ORIX
                       Corporation, and ORIX USA Corporation)

       144.   Plaintiff incorporates and realleges all of the foregoing allegations of the

Complaint.

       145.   Plaintiff and ORIX entered into numerous contracts governing their relationship.

       146.   To the extent ORIX Asset Management, LLC, ORIX GAM, LLC, ORIX

Corporation, and ORIX USA Corporation are not found to be direct parties to the contracts

regarding NHCP, each induced the remaining ORIX Defendants to breach the contracts.


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       147.    ORIX Asset Management, LLC, ORIX GAM, LLC, ORIX Corporation, and

ORIX USA Corporation each knew of the contracts between ORIX and Plaintiff.

       148.    Despite this knowledge, ORIX Asset Management, LLC, ORIX GAM, LLC,

ORIX Corporation, and ORIX USA Corporation knowingly induced ORIX to breach the

contracts such that Dantzig would be denied his contractual benefits.

       149.    As described in paragraphs 101 to 141, which are incorporated herein, by their

conduct, ORIX Asset Management, LLC, ORIX GAM, LLC, ORIX Corporation, and ORIX

USA Corporation induced ORIX to breach at least the following provisions: Sections 2 and 4 of

the Services Agreement; Section 7.01 of the Investment Agreement; Sections 5.1(a), 5.2, 5.11,

5.12, 9.1, 13.3(b), 13.5, 14.1, 14.2, and 15.5(b) and Schedules A-1, A-2, and A-3 of the

Operating Agreement; Sections 5.1(a), 5.1(c), 5.2, 5.6, 5.10, 5.11, 5.12, 9.1, 13.3(b), 13.5, 14.1,

14.2, and 15.5(b) of the Management GP Operating Agreement; Sections 5.2, 5.8, 5.12, 5.13,

5.14, 9.1, 13.3(b), 13.5, 14.1, 14.2, and 15.5(b) of the Management LP Operating Agreement,

Article IV and Sections 3.2, 4.11, 5.1(e), and 6.2 of the Fund I LPA, Sections 1, 2, 7, and 14 of

the SBI Co-Invest Investment Management Agreement, Articles 3.3, 3.4, VI, 7.1, XI, and XII of

the SBI Co-Invest, LLC Agreement, and Section 1.33 of the Dantzig Non-Compete Agreement.

       150.    Plaintiff has been damaged by ORIX’s conduct in an amount to be proven at trial.

Dantzig’s damages include:

               a. The $800,000 taken from NHCP that almost entirely belonged to Dantzig;

               b. Removing Dantzig’s health and other employment benefits;

               c. Dantzig’s contractual compensation from Fund I of approximately $2.7

                   million in salary and approximately $2.5 million in carried interest incentive

                   income;




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                d. Dantzig’s     compensation      from     the   SBI     Co-Investment,   including

                    approximately $1.5 million in carried interest and additional amounts due to

                    Dantzig as an investor and member upon the sale of the investment;

                e. NHCP distributions that have been reflected in tax documents issued to

                    Dantzig based on his continued ownership of the NHCP entities that were

                    never paid to Dantzig;

                f. Dantzig’s contractual compensation from Fund II of at least $7.5 million in

                    fees and carried interest incentive income which likely would have been much

                    greater.

        151.    Thus, due to ORIX’s breaches of contract, Dantzig is entitled to at least

$13,500,000, plus pre- and post-judgment interest and costs.

           THIRD CAUSE OF ACTION –BREACH OF IMPLIED COVENANT
                     OF GOOD FAITH AND FAIR DEALING
                           (Against All Defendants)

        152.    Plaintiff incorporates and realleges all of the foregoing allegations of the

Complaint.

        153.    Plaintiff and ORIX entered into numerous contracts governing their relationship.

        154.    ORIX was required to meet its obligations and exercise any discretion under the

contracts pursuant to the implied covenant of good faith and fair dealing.

        155.    ORIX, however, took the conduct described above with the intent to deny Dantzig

of his intended benefits under the contracts.

        156.    Dantzig had substantially performed his duties under the NHCP agreements by

identifying, negotiating, and managing three investments which were quite profitable for the

venture. ORIX, however, denied Dantzig the intended benefits of his work by prematurely

cutting him out of the contracts and taking all of the benefits for itself.


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       157.    Thus, where explicit contractual provisions do not govern ORIX’s conduct or the

contracts provide ORIX with discretion to act, ORIX’s conduct blatantly breached the implied

covenant of good faith and fair dealing with respect to the contracts.

       158.    Plaintiff has been damaged by ORIX’s conduct in an amount to be proven at trial.

Dantzig’s damages include:

               a. The $800,000 taken from NHCP that almost entirely belonged to Dantzig;

               b. Removing Dantzig’s health and other employment benefits;

               c. Dantzig’s contractual compensation from Fund I of approximately $2.7

                   million in salary and approximately $2.5 million in carried interest incentive

                   income;

               d. Dantzig’s     compensation     from    the    SBI      Co-Investment,   including

                   approximately $1.5 million in carried interest and additional amounts due to

                   Dantzig as an investor and member upon the sale of the investment;

               e. NHCP distributions that have been reflected in tax documents issued to

                   Dantzig based on his continued ownership of the NHCP entities that were

                   never paid to Dantzig;

               f. Dantzig’s contractual compensation from Fund II of at least $7.5 million in

                   fees and carried interest incentive income which likely would have been much

                   greater.

       159.    Thus, due to ORIX’s breaches of contract, Dantzig is entitled to at least

$13,500,000, plus pre- and post-judgment interest and costs.




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              FOURTH CAUSE OF ACTION – TORTIOUS INTERFERENCE
                   WITH BAXTER NON-COMPETE AGREEMENT
                            (Against All Defendants)

       160.     Plaintiff incorporates and realleges all of the foregoing allegations of the

Complaint.

       161.     Dantzig should have been the sole remaining decision-maker for NHCP and

could, independent of ORIX, appoint additional board members—it was the intent of the

documents that ORIX not control a majority of the board—and to enforce the Baxter Non-

Compete Agreement against Baxter. Defendants intentionally sought to permanently remove

Dantzig’s ability to enforce the agreement against Baxter and the value which doing so had to

Dantzig.

       162.     ORIX, in bad faith, intentionally removed Dantzig from that decision-making

process and secretly negotiated with Baxter directly with the intent of depriving Dantzig of his

bargained-for contractual rights under the agreements.

       163.     As a result, ORIX intentionally disrupted and eliminated Dantzig’s ability,

through NHCP, to enforce the Baxter Non-Compete Agreement.

       164.     In fact, had Dantzig been able to enforce the Baxter Non-Compete Agreement,

Dantzig would have received, and would continue to receive, all of the benefits of NHCP, Fund

I, the SBI Co-Investment, and Fund II.

       165.     The fact that Baxter was able to work for a competing business and solicit former

NHCP employees while ORIX enforced the Dantzig Non-Compete Agreement against Dantzig

resulted in direct and proximate damage to Dantzig’s career—including damage to his reputation

and loss of compensation—in an amount to be proven at trial.




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              FIFTH CAUSE OF ACTION – TORTIOUS INTERFERENCE
                       WITH THE SBI CO-INVESTMENT
                            (Against All Defendants)

       166.   Plaintiff incorporates and realleges all of the foregoing allegations of the

Complaint.

       167.   ORIX was aware of the investment management agreements related to the SBI

Co-Investment. Those agreements involved third parties other than Dantzig, NHCP, and ORIX.

       168.   Also as ORIX was aware, those agreements conveyed several substantial benefits

to Dantzig.

       169.   Dantzig invested money in the SBI Co-Investment and was a member of New

Health SBI Co-Invest LLC.

       170.   Dantzig would have been the sole remaining managing partner of New Health

Capital Partners Management LP, and as such, would have been able to honor NHCP’s

contractual obligations, and been entitled to the full economic benefits, of the investment

management agreement related to the SBI Co-Investment.

       171.   Despite this knowledge, ORIX intentionally, and in bad faith, disrupted and

eliminated Dantzig’s rights with respect to NHCP’s investment management agreement for the

SBI Co-Investment by intentionally destroying NHCP’s control, and all economic benefits,

associated with the investment management agreement, and eliminating Dantzig’s rights and

compensation otherwise due and payable from the SBI Co-Investment.

       172.   ORIX also denied Dantzig of all of his rights and compensation as a member of

New Health SBI Co-Invest LLC.

       173.   ORIX’s conduct directly and proximately resulted in substantial damage to

Dantzig, including by denying him: (1) the compensation he was entitled to pursuant to NHCP’s




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investment management agreement for the SBI Co-Investment, and (2) the value of the SBI Co-

Investment to Dantzig.

                SIXTH CAUSE OF ACTION – TORTIOUS INTERFERENCE
                    WITH PROSPECTIVE ECONOMIC ADVANTAGE
                              (Against All Defendants)

        174.    Plaintiff incorporates and realleges all of the foregoing allegations of the

Complaint.

        175.    ORIX intentionally and maliciously manufactured a situation where Dantzig

needed new employment.

        176.    ORIX then chose to enforce the Dantzig Non-Compete Agreement against

Dantzig while not enforcing the parallel agreement against Baxter. If NHCP claims to have

exercised a No Fault Dissolution of NHCP, ORIX had no rights to enforce the Non-Compete

Agreement at all. (Services Agreement § 1.33).

        177.    ORIX also falsely informed investors, Dantzig’s coworkers, and NHCP’s

counterparties that Dantzig was no longer an employee of NHCP as of July 2013, when he, in

fact, remained employed through January 2014. Doing so created the incorrect inference that

Dantzig committed some sort of misconduct that would warrant such an abrupt termination.

        178.    ORIX further intentionally destroyed the value of NHCP by ceasing its

operations, eliminating the track record and other career benefits Dantzig would have received

from managing an extremely successful fund.

        179.    By these acts, and others, ORIX intentionally interfered with Dantzig’s reputation

and ability to find comparable employment, or acted with reckless disregard to the same.

        180.    ORIX’s conduct directly and proximately resulted in substantial damage to

Dantzig’s career—including damage to his reputation and loss of compensation—in an amount

to be proven at trial.


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          SEVENTH CAUSE OF ACTION – BREACH OF FIDICIARY DUTY
  (Against Defendants ORIX AM Holdings, LLC, ORIX Asset Management, LLC, ORIX
         AM Investments, LLC, ORIX GAM, LLC and ORIX USA Corporation)

         181.   Plaintiff incorporates and realleges all of the foregoing allegations of the

Complaint.

         182.   Plaintiff and ORIX entered into a joint venture with respect to NHCP.

         183.   By virtue of the joint venture relationship, each joint venturer owed a fiduciary

duty to one another.

         184.   ORIX breached the fiduciary duty to Plaintiff by: (1) secretly negotiating with

Baxter, (2) destroying the value of NHCP, (3) intentionally denying Plaintiff the proceeds of

NHCP, (4) paying compensation to Baxter that was not owed to him and (5) deliberately

breaching its obligations to maximize franchise value and good will.

         185.   Plaintiff has been damaged by ORIX’s conduct in an amount to be proven at trial.

That amount, which includes, but is not limited to, the value of NHCP to Dantzig and the

compensation he earned for his work for NHCP, exceeds $13,500,000.

                   EIGHTH CAUSE OF ACTION – QUANTUM MERUIT
                              (Against All Defendants)

         186.   Plaintiff incorporates and realleges all of the foregoing allegations of the

Complaint.

         187.   Dantzig performed his services for ORIX exceptionally well and in good faith. He

reasonably expected to be compensated at an appropriate rate for his services.

         188.   ORIX accepted Dantzig’s services knowing of Dantzig’s expected compensation.

         189.   ORIX’s conduct denied Dantzig of that expected compensation.

         190.   ORIX owes Dantzig the reasonable value of services in an amount to be proven at

trial.



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                   NINTH CAUSE OF ACTION – UNJUST ENRICHMENT
                               (Against All Defendants)

       191.   Plaintiff incorporates and realleges all of the foregoing allegations of the

Complaint.

       192.   ORIX was unjustly enriched by Dantzig’s services.

       193.   Dantzig conferred several benefits upon ORIX.

       194.   ORIX has unjustly retained and accepted those benefits without adequately or

appropriately compensating Dantzig.

       195.   Dantzig is entitled to just compensation for the benefit that his services conferred

upon ORIX in an amount to be proven at trial.

                TENTH CAUSE OF ACTION – CONSTRUCTIVE TRUST
                   (Against Defendant ORIX AM Investments, LLC)

       196.   Plaintiff incorporates and realleges all of the foregoing allegations of the

Complaint.

       197.   ORIX AM Investments, LLC and Dantzig are members of New Health Capital

Partners GP LLC.

       198.   In that capacity, ORIX AM Investments, LLC had a confidential and fiduciary

relationship towards Dantzig.

       199.   ORIX AM Investments, LLC was aware of the contractual rights and obligations

owed to Dantzig.

       200.   Dantzig managed New Health Capital Partners Management LP, New Health

Capital Partners Management GP, LLC, and New Health Capital Partners GP LLC, and devoted

resources to them in reliance on the contractual rights and compensation he was entitled to

receive from them.




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         201.   ORIX AM Investments, LLC surreptitiously took possession and control of New

Health Capital Partners Management LP, New Health Capital Partners Management GP, LLC,

and New Health Capital Partners GP LLC, and has not made the appropriate management

decisions regarding the company or the companies it manages nor has it made appropriate

distributions to Dantzig.

         202.   Dantzig remains the 100% owner of New Health Capital Partners Management

LP, the 100% owner of New Health Capital Partners Management GP, LLC, and the 50% owner

New Health Capital Partners GP LLC. ORIX, however, has denied Dantzig any involvement in

the management of these companies, and even denied him the income he is due as a result of his

ownership, despite providing Dantzig with tax documents reflecting income that he has not been

paid.

         203.   As such, Dantzig is entitled to the imposition of a constructive trust on all assets

in the possession, custody, and/or control of ORIX AM Investments, LLC which originated from

New Health Capital Partners GP LLC and which are rightfully the assets of Dantzig, including

any interest and/or other types of profits realized from the use of said assets.

        ELEVENTH CAUSE OF ACTION –DERIVATIVE CLAIM FOR BREACH OF
              CONTRACT AND INDUCING BREACH OF CONTRACT
                        (Against the ORIX Defendants)

         204.   Plaintiff incorporates and realleges all of the foregoing allegations of the

Complaint.

         205.   In the event it is determined that any of Plaintiff’s claims of breach of contract,

either explicit or implicit breach of the covenant of good faith and fair dealing, are not

appropriately pled as direct claims of Plaintiff, Plaintiff hereby asserts them, in the alternative, as

derivative claims on behalf of NHCP and the SBI-Co-Investment entities.




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       206.    NHCP, the SBI Co-Investment entities, Dantzig, Baxter, and ORIX entered into

the binding agreements referenced in the attached Exhibit A.

       207.    To the extent ORIX Asset Management, LLC, ORIX GAM, LLC, ORIX

Corporation, and ORIX USA Corporation are not found to be direct parties to the contracts

regarding NHCP, each induced the remaining ORIX Defendants to breach the contracts.

       208.    NHCP, the SBI Co-Investment entities, and Dantzig performed their obligations

under the agreements.

       209.    As described in paragraphs 101 to 141, which are incorporated herein, by their

conduct, ORIX Asset Management, LLC, ORIX GAM, LLC, ORIX Corporation, and ORIX

USA Corporation induced ORIX to breach at least the following provisions: Sections 2 and 4 of

the Services Agreement; Section 7.01 of the Investment Agreement; Sections 5.1(a), 5.2, 5.11,

5.12, 9.1, 13.3(b), 13.5, 14.1, 14.2, and 15.5(b) and Schedules A-1, A-2, and A-3 of the

Operating Agreement; Sections 5.1(a), 5.1(c), 5.2, 5.6, 5.10, 5.11, 5.12, 9.1, 13.3(b), 13.5, 14.1,

14.2, and 15.5(b) of the Management GP Operating Agreement; Sections 5.2, 5.8, 5.12, 5.13,

5.14, 9.1, 13.3(b), 13.5, 14.1, 14.2, and 15.5(b) of the Management LP Operating Agreement,

Article IV and Sections 3.2, 4.11, 5.1(e), and 6.2 of the Fund I LPA, Sections 1, 2, 7, and 14 of

the SBI Co-Invest Investment Management Agreement, Articles 3.3, 3.4, VI, 7.1, XI, and XII of

the SBI Co-Invest, LLC Agreement, and Section 1.33 of the Dantzig Non-Compete Agreement.

       210.    At all times relevant, Dantzig was, and remains the 100% owner of New Health

Capital Partners Management, LP and New Health Capital Partners Management GP, LLC and

the 50% owner of New Health Capital Partners GP, LLC. Dantzig fairly represents the members

of the NHCP entities.

       211.    Dantzig was also a member, equity owner, and investor in New Health SBI Co-




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Invest LLC. Dantzig fairly represents the members of New Health SBI Co-Invest LLC.

        212.    As a result, of ORIX’s breaches, ORIX destroyed nearly all value in the NHCP

entities and of New Health SBI Co-Invest LLCs. Doing so damaged Dantzig as a member, equity

holder, and investor in the NHCP entities and New Health SBI Co-Invest LLC.

        213.    Any demand upon the NHCP entities or upon New Health SBI Co-Invest LLC to

bring this action directly against ORIX would have been futile.

        214.    ORIX itself controls all decision-making power of the relevant entities. Thus,

ORIX would be antagonist to such a demand, adversely interested in initiating action against

itself, and was itself involved in the transactions at issue.

        215.    This action is not a collusive action designed to confer jurisdiction on a court of

the United States that it would not otherwise have.

        216.    As a result of ORIX’s breaches, the NHCP entities and New Health SBI Co-

Invest LLC, and indirectly Dantzig, have been damaged in an amount to be proven at trial.

       TWELFTH CAUSE OF ACTION – DERIVATIVE CLAIM FOR TORTIOUS
         INTERFERENCE WITH BAXTER NON-COMPETE AGREEMENT
                       (Against the ORIX Defendants)

        217.    Plaintiff incorporates and realleges all of the foregoing allegations of the

Complaint.

        218.    In the event it is determined that any of Plaintiff’s claims of tortious interference

with the Baxter Non-Compete Agreement, are not appropriately pled as direct claims of Plaintiff,

Plaintiff hereby asserts them, in the alternative, as derivative claims on behalf of NHCP.

        219.    New Health Capital Partners Management LP, at all time relevant, was a party to

the Baxter Non-Compete Agreement. ORIX was aware of the Baxter Non-Compete Agreement.

        220.    By the conduct described above, including by failing to cooperate in Dantzig’s

efforts to replace Baxter to avoid the requirement that the NHCP Board always consist of a


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majority of non-ORIX controlled members (Operating Agreement § 5.1(a); Management GP

Agreement § 5.1(a)), and by removing Dantzig as a board member, ORIX, in bad faith,

intentionally and tortiously interfered with NHCP’s ability to enforce the Baxter Non-Compete

Agreement.

        221.    Had NHCP been able to enforce the Baxter Non-Compete Agreement, NHCP and

Dantzig would have received, and would continue to receive, all of the benefits of NHCP, Fund

I, the SBI Co-Investment, and Fund II.

        222.    Any demand upon the NHCP entities to bring this action directly against ORIX

would have been futile.

        223.    ORIX itself controls all decision-making power of the relevant entities. Thus,

ORIX would be antagonist to such a demand, adversely interested in initiating action against

itself, and was itself involved in the transactions at issue.

        224.    This action is not a collusive action designed to confer jurisdiction on a court of

the United States that it would not otherwise have.

        225.    The fact that Baxter was able to work for a competing business and solicit former

NHCP employees damaged NHCP and Dantzig in an amount to be proven at trial.

     THIRTEENTH CAUSE OF ACTION – DERIVATIVE CLAIM FOR TORTIOUS
             INTERFERENCE WITH THE SBI CO-INVESTMENT
                      (Against the ORIX Defendants)

        226.    Plaintiff incorporates and realleges all of the foregoing allegations of the

Complaint.

        227.    NHCP had various agreements governing its relationship with the SBI Co-

Investment.

        228.    From those agreements, NHCP was entitled to substantial compensation from the

SBI Co-Investment, including management fees and other compensation.


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        229.    ORIX was aware of NHCP’s agreements related to the SBI Co-Investment. Those

agreements involved third parties other than Dantzig, NHCP, and ORIX.

        230.    Also as ORIX was aware, those agreements conveyed several substantial benefits

to NHCP.

        231.    Despite this knowledge, ORIX intentionally, and in bad faith, disrupted and

eliminated NHCP’s rights with respect to NHCP’s agreements related to the SBI Co-Investment

by intentionally destroying NHCP’s control, and all economic benefits, associated with the

investment management agreement and eliminating NHCP’s rights and compensation otherwise

due and payable from the SBI Co-Investment.

        232.    Any demand upon the NHCP entities to bring this action directly against ORIX

would have been futile.

        233.    ORIX itself controls all decision-making power of the relevant entities. Thus,

ORIX would be antagonist to such a demand, adversely interested in initiating action against

itself, and was itself involved in the transactions at issue.

        234.    This action is not a collusive action designed to confer jurisdiction on a court of

the United States that it would not otherwise have.

        235.    ORIX’s conduct directly and proximately resulted in substantial damage to

NHCP, including by denying it: (1) the compensation NHCP was entitled to pursuant to its

agreements related to the SBI Co-Investment, and (2) the value of the SBI Co-Investment to

NHCP.

                                          JURY DEMAND

        236.    Plaintiff requests a jury trial with respect to all claims so triable.

        WHEREFORE, Plaintiff requests the following relief:




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                                   EXHIBIT A

Date                Title                  Parties                Abbreviation

September 1, 2011   New Health Capital     New Health Capital     Baxter Service

                    Partners Management    Partners Management    Agreement

                    LP Services            LP; Baxter; and ORIX

                    Agreement              AM Holdings, LLC

September 1, 2011   New Health Capital     New Health Capital     Dantzig Service

                    Partners Management    Partners Management    Agreement

                    LP Services            LP; Dantzig; and

                    Agreement              ORIX AM Holdings,

                                           LLC

September 1, 2011   Investment             ORIX AM Holdings,      Investment

                    Agreement              LLC; ORIX AM           Agreement

                                           Investments, LLC;

                                           Baxter; Dantzig; New

                                           Health Capital

                                           Partners GP LLC;

                                           New Health Capital

                                           Partners Management

                                           LP; and New Health

                                           Capital Partners

                                           Management GP LLC




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September 1, 2011   Limited Liability       Dantzig; Baxter; and   Operating Agreement

                    Company Agreement       ORIX AM

                    of New Health Capital Investments, LLC

                    Partners GP LLC

September 1, 2011   New Health Capital      New Health Capital     Fund I LPA

                    Partners Fund I LP,     Partners GP LLC;

                    Agreement of Limited    ORIX AM

                    Partnership             Investments, LLC;

                                            Baxter; Dantzig; and

                                            New Health Capital

                                            Partners Management

                                            LP

September 1, 2011   Investment              New Health Capital     Fund I IMA

                    Management              Partners Fund I LP;

                    Agreement               and New Health

                                            Capital Partners

                                            Management LP

September 1, 2011   Limited Liability       Dantzig; Baxter; and   Management GP

                    Company Agreement       ORIX AM Holdings,      Operating Agreement

                    of New Health Capital LLC

                    Partners Management

                    GP LLC




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September 1, 2011   Limited Partnership     Dantzig; Baxter;       Management LP

                    Agreement of New        ORIX AM Holdings,      Operating Agreement

                    Health Capital          LLC; and New Health

                    Partners Management     Capital Partners

                    LP                      Management GP LLC

September 1, 2011   New Health Capital      New Health Capital     Dantzig Non-

                    Partners Management     Partners Management    Compete Agreement

                    LP, Confidentiality,    LP; Dantzig; and

                    Non-Competition and     ORIX AM Holdings,

                    Non-Solicitation        LLC

                    Agreement

September 1, 2011   New Health Capital      New Health Capital     Baxter Non-Compete

                    Partners Management     Partners Management    Agreement

                    LP, Confidentiality,    LP; Baxter; and ORIX

                    Non-Competition and     AM Holdings, LLC

                    Non-Solicitation

                    Agreement

December 1, 2011    Investment              New Health SBI Co-     SBI Co-Invest

                    Management              invest LLC; and New    Investment

                    Agreement               Health Capital         Management

                                            Partners Management    Agreement

                                            LP




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December 1, 2011   New Health SBI Co-      New Health SBI Co-     SBI Co-Invest LLC

                   invest LLC, Amended     Invest MM LLC; New Agreement

                   and Restated Limited    Health Capital

                   Liability Company       Partners GP LLC; and

                   Agreement               other members.




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                EXHIBIT B
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           Investment Committee                                                                                                               Board of Managers
           • Richard                                                         Orix                                      Aron
                                                                                                                                              • Richard
           • Orix Holdings designee                                        Holdings                  A
                                                                                            B                 A                               • Michael Kelly (Orix)



                      Richard                                                     Management Holdco
                                                                                   General Partner

 Orix                    A
                                                     Aron                        (NHCP Management GP)
Holding
                                         A                                                   Board of Managers
                                                       Services                              • Richard
                  B                                     Agmt
                                                                       GP                    • Michael Kelly (Orix)                        Aron
                                             Restrictions
                                                Agmt
                              Services                                               Orix
       Restrictions            Agmt
          Agmt                                                                   Investments                                                              Richard
                                                                                                                                       A
                               Management Holdco                                                          B


                             (NHCP Management LP)                                                                 GP Holdco
                                                                                  $100M
                                                                                                                  (NHCP GP)                                         Clawback
                                                                    Investment                                                                                      Guarantee
                                                                   Management
                                                                    Agreement             $100M          100%                                          Auto
                                                                     _________                                                                    distribution of
                        Investment Management
                                                                                                                                                     Portfolio
                                                              Fee = 1% of purchase
                               Agreement                                                                 New Health SBI                            Investment
                                 _________                      price on 12/1/11
                                                                 (agmt expired)
                                                                                                         Co-Invest MM                              distributions
                             Fee = (a) 2% of Orix
 Sub-                       Investment’s capital
Advisory                 commitments until 9/14;                                                Managing Member
 Agmt                        then (b) 1% of Orix
                            Investment’s capital                                                                    Carried Interest
                       commitments; then (c) 1% of
                        Orix Investments’ cost basis
                         in Portfolio Investments
                                                                                           New Health SBI
                                                                                             Co-Invest



                                                                                                GP
                                                                                                              Carried Interest
                      Corbin                                      Fund I
                      Capital

              Investment authority



                 Corbin
             Opportunity Fund




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Subject: FW: follow up
Date:    Tuesday, June 25, 2013 5:50:48 PM Eastern Daylight Time
From:    Rich Baxter
To:      'Rich Baxter (rbbaxterjr@gmail.com)'




From: Rich Baxter
Sent: Tuesday, June 25, 2013 5:27 PM
To: jlaska@morrisoncohen.com
Subject: FW: follow up




From: Kelly, Mike [mailto:mike.kelly@orix.com]
Sent: Tuesday, June 25, 2013 3:35 PM
To: Rich Baxter
Subject: follow up

Rich - I understand your frustration with the outcome as we discussed, but we view where we are now with
the team and the future of NHCP separately from your and Aron's duty toward overseeing the situation at
Bioscan. Orix is being very fair in our proposal based on the written agreement and the restrictions it would
bind you to should you decide to leave right now. Our economic proposal is as far as we will go given the
circumstances. We will need to provide an incentive for those here on our side to help us on an ongoing
basis with these assets so will need the economics for that. We also would like to move quickly now on
winding things down so we will need to know whether you accept our proposal in the next 24 hours. I
appreciate your cooperation and look forward to a smooth transition. Thanks, Mike




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